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August 4, 2018



Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square, Courtroom: 705
New York, NY 10007

      Re: Agreement to Adjourn the TRO Hearing in Donovan v. East
      Twelfth Street Tenants Housing Development Fund Corporation,
      No. 18 Civ. 06950 (PGG) (KNF)

Judge Gardephe:

I am counsel for Plaintiff Kyle Donovan in the above-captioned action.
On August 2, 2018, Plaintiff filed a complaint (Dkt. #1) against the
defendant, a cooperative corporation (hereinafter, the “Co-op”).

Plaintiff also filed a motion for a temporary restraining order (“TRO”)
prohibiting the Co-op from approving the sale of Unit #MW at 527 East
12th Street in the City of New York (Dkt. #4).

I write to confirm that yesterday, on a conference call with the Court’s
clerk, counsel for the Co-op, Michael Schwartz, and I agreed to adjourn
the TRO so that the Co-op may file opposition papers on or before
Tuesday, August 14th. Further, Mr. Schwartz agreed that the Co-op
will not take any action with regards to the property that is the subject
of the motion for the TRO prior to the Court ruling on the TRO.

The parties have not discussed whether they agree that Plaintiff will
be permitted to file a reply to the opposition papers. I will confer with




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Mr. Schwartz on Monday to see if he consents. If Mr. Schwartz does
consent, Plaintiff will file reply papers by Friday, August 17th

We appreciate the Court’s attention to this matter. I may be reached
at the below number or email if the Court has any questions.

                              Sincerely,
                              /s/ Bryce Jones
                              T. Bryce Jones
                              Jones Law Firm, P.C.
                              43 West 43rd Street
                              Suite 180
                              New York, NY 10036
                              (212) 258-0685
                              bryce@joneslawnyc.com
                              Counsel for Plaintiff Kyle Donovan



cc (via email):
Michael Schwartz, Esq.
M. Schwartz Law, P.C.
330 West 38th Street, Suite 1204
New York, New York 10018
michael@michaelschwartzesq.com
Counsel for Defendant East Twelfth Street
Tenants Housing Development Fund Corporation




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